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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 GALVESTON DIVISION

TERRY AUSAMA                                              §               C.A. NO. 3:19-cv-00015
                                                          §
                                                          §
~                                                         §
                                                          §
ARENA OFFSHORE, LP, AND ARENA                             §
OFFSHORE OPERATING, LLC                                   §         JURY TRIAL DEMANDED

       ANSWER, DEFENSES AND JURY DEMAND OF DEFENDANTS
     ARENA OFFSHORE, LP AND ARENA OFFSHORE OPERATING, LLC
            TO PLAINTIFF'S FIRST AMENDED COMPLAINT

       Defendants Arena Offshore, LP and Arena Offshore Operating, LLC (collectively

"Arena Offshore") file this Answer and Defenses to Plaintiff's First Amended Complaint

(Dkt. # 17) and would respectfully show unto the Court as follows:

                                        FIRST DEFENSE

       Plaintiff's   First Amended Complaint fails to state a claim against Arena Offshore

upon which relief can be granted pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure.

                                      SECOND DEFENSE

       Without       warvmg    the foregoing        defenses,   Arena   Offshore   responds   to the

allegations of Plaintiff's First Amended Complaint as follows:

                                                     1.

       Paragraph      1.1 contains jurisdictional     allegations requiring no response by Arena

Offshore.    The extent any response is required, Arena Offshore denies those allegations

for lack of sufficient information to justify a belief therein.
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       With respect to Paragraph      1.2, Arena Offshore admits Arena Offshore, LP is a

Delaware     limited partnership with its principal place of business in The Woodlands,

Texas. The remaining allegations in Paragraph 1.2 contain conclusions of law and mixed

statements of law and fact which require no further response.      To the extent any response

is necessary, Arena Offshore denies the remaining allegations of Paragraph 1.2.

       With respect to Paragraph 1.3, Arena Offshore admits Arena Offshore Operating,

LLC is a Delaware limited liability company with its principal place of business in The

Woodlands,     Texas.   The remaining allegations in Paragraph     1.3 contain conclusions   of

law and mixed statements of law and fact which require no further response.            To the

extent any response is necessary, Arena Offshore denies the remaining allegations            of

Paragraph 1.3.

                                             II.

       Arena Offshore admits this Court has jurisdiction    pursuant to 28 U.S.C. §1331.

                                             III.

       Arena Offshore admits venue is proper in the Southern District of Texas.

                                             IV.

       Arena Offshore admits Plaintiff claims he was employed by Performance           Energy

as alleged    in Paragraph   4.1.   Arena Offshore     denies the remaining    allegations   of

Paragraph 4.1.

       Arena Offshore denies the allegations        of Paragraph   4.2 for lack of sufficient

information to justify a belief therein.

       Arena Offshore denies the allegations of Paragraph 4.3.


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                                            V.

       Arena Offshore denies the allegations of Paragraph 5.1.

       Arena Offshore denies the allegations of Paragraph 5.2, and all subparts.

       Arena Offshore denies the allegations of Paragraph 5.3.

       Arena Offshore denies the allegations of Paragraph 5.4.

       Arena Offshore denies the allegations of Paragraph 5.5.

                                           VI.

       Arena Offshore denies the allegations of Paragraph 6.1.

       Arena Offshore denies the allegations of Paragraph 6.2, and all subparts.

                                           VII.

       Arena Offshore denies the allegations of Paragraph 7.1.

                                          VIII.

       Arena Offshore admits Plaintiff demands a jury trial.

                                   THIRD DEFENSE

       And now, further answering, Arena Offshore denies the allegations of any

unnumbered or mis-numbered paragraphs and any allegations contained within Plaintiff's

First Amended Complaint that have not been addressed, expressly including those

allegations contained within the Prayer for Relief. Arena Offshore specifically denies

any liability to Plaintiff.

                                 FOURTH DEFENSE

       Pleading further for a separate and complete defense and in the alternative, Arena

Offshore alleges and contends it is a statutory employer entitled to the full protections


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afforded by the Louisiana Workers' Compensation Act (La. R.S. 23:1021 et seq.) and,

therefore, Plaintiff is barred from recovering any damages from Arena Offshore because

his sole and exclusive remedy lies in the defined benefit scheme pursuant to the

Louisiana Workers' Compensation Act (La. R.S. 23:1021 et seq.).

                                   FIFTH DEFENSE

      Pleading further for a separate and complete defense and in the alternative, Arena

Offshore alleges and contends it does not owe, nor did it previously owe, any duty of care

whatsoever to Plaintiff under the Outer Continental Shelf Lands Act, 43 U.S.C. §1331 et

seq., or under any other federal or state statute, or under the common law or laws of any

state, including, but not limited to, the laws of the State of Louisiana. Arena Offshore

specifically invokes the independent contractor defense.

                                   SIXTH DEFENSE

      Pleading further for a separate and complete defense and in the alternative, Arena

Offshore alleges and contends the injuries and/or damages of which Plaintiff complains,

if any, were proximately caused or contributed to be caused, in whole or in part, by

negligence attributable to Plaintiff, which precludes any recovery by Plaintiff against

Arena Offshore or, alternatively, reduces any such recovery. Arena Offshore specifically

invokes the doctrines of contributory negligence and comparative fault.

                                 SEVENTH DEFENSE

       Pleading further for a separate and complete defense and in the alternative, Arena

Offshore affirmatively avers that, in the event it is found Plaintiff sustained damages as a

result of the negligence or fault of Arena Offshore and/or anyone for whom Arena


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Offshore could or might be responsible, or as the result of any condition for which Arena

Offshore could or might be responsible, all of which is not admitted but specifically

denied, Arena Offshore maintains that Plaintiff's own negligence and/or fault caused

and/or contributed to such damages in the following non-exclusive particulars:

       1.     Failing to exercise due care and act with ordinary prudence under the
              circumstances;
       2.     Failing to act like a reasonable person under similar circumstances;
       3.     Failing to comply with accepted and customary industry practices;
       4.     Disregarding his own experience, training, and/or education;
       5.     Acting in a careless and reckless manner with regard to his own safety and
              well-being, particularly by failing to inspect the work-area prior to
              commencement of operations;
       6.     Placing himself in a zone of danger which was unnecessary and
              unwarranted under the circumstances; and
       7.     Other acts and/or omissions which may be established throughout
              discovery and/or trial of this matter.

                                   EIGHTH DEFENSE

       Pleading further for a separate and complete defense and in the alternative, Arena

Offshore alleges and contends that Plaintiff's negligent conduct was the sole producing

and sole proximate cause of his alleged injuries, if any, and that Arena Offshore's

conduct was not a contributing cause of Plaintiff's alleged injuries, if any.

                                    NINTH DEFENSE

       Pleading further for a separate and complete defense and in the alternative, Arena

Offshore alleges and contends the injuries and/or damage of which Plaintiff complains, if

any, were entirely and solely caused by the acts or omissions of third parties for which

Arena Offshore has no control or right of control, which precludes any recovery by

Plaintiff against Arena Offshore or, alternatively, reduces any such recovery.



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                                    TENTH DEFENSE

       Pleading further for a separate and complete defense and in the alternative, Arena

Offshore alleges and contends the injuries and/or damages of which Plaintiff complains,

if any, arose as a result of pre-existing and/or subsequently developing physical and/or

mental conditions, which were neither caused nor aggravated by any act or omission of

Arena Offshore.

                                  ELEVENTH DEFENSE

       Pleading further for a separate and complete defense and in the alternative, Arena

Offshore alleges and contends Plaintiff negligently failed and/or refused to engage in

conduct in mitigation of the injuries and/or damages, if any, sustained by and occurring in

the alleged incident made the basis of this litigation, if any.

                                  TWELFTH DEFENSE

       Pleading further for a separate and complete defense and in the alternative, Arena

Offshore alleges and contends the injuries and/or damages of which Plaintiff complains,

if any, were the result of an Act of God or, alternatively, were the result of an

unavoidable accident.

                                THffiTEENTH         DEFENSE

       Pleading further for a separate and complete defense and in the alternative, Arena

Offshore affirmatively avers that the damages alleged by Plaintiff, should any exist,

which is not admitted but specifically denied, were not caused by any condition of any

premises and/or by negligence or fault of Arena Offshore, its employees, agents, or other

persons for whom it may be responsible, but instead were caused by the usual and


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customary risks, dangers and/or hazards of a person in Plaintiff's occupation, all of which

were open/obvious, about which Plaintiff had actual knowledge or reasonably should

have known, and were knowingly/voluntarily assumed by Plaintiff, all of which bar any

recovery by Plaintiff against Arena Offshore or, alternatively, operates in mitigation of

any such recovery.

                              FOURTEENTH DEFENSE

       Pleading further for a separate and complete defense and in the alternative, and to

the extent Plaintiff's First Amended Complaint asserts a claim for recovery based upon

an alleged ruin or defect of a building or premises, Arena Offshore alleges and contends

that it neither knew or, in the exercise of reasonable care should have known, of any

alleged ruin or defect and, assuming that such ruin or defect did exist, which Arena

Offshore specifically denies, such alleged ruin or defect could not have been prevented

by the exercise of reasonable care. Arena Offshore further alleges and contends that, to

the extent any such alleged ruin or defect did exist, which Arena Offshore specifically

denies, then Plaintiff's claims should be barred, in whole or in part, inasmuch as such

alleged ruin or defect was open and obvious.

                                FIFTEENTH DEFENSE

       Pleading further for a separate and complete defense and in the alternative,

Defendant Arena Offshore Operating, LLC alleges and contends it is not liable in the

capacity in which it has been sued. In particular, Arena Offshore Operating, LLC neither

(i) has, nor had at any time relevant hereto, any ownership or operational control over the




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Platform; nor (ii) employed any personnel on the Platform and/or owned or operated any

equipment on the Platform.

                                   SIXTEENTH DEFENSE

       Pleading further for a separate and complete defense and in the alternative, Arena

Offshore alleges and contends the injuries and/or damages of which Plaintiff complains,

if any, were proximately caused or contributed to be caused, in whole or in part, by a

prior, superseding and/or intervening event other than that alleged by Plaintiff.

                                  SEVENTEENTH DEFENSE

       Pleading further for a separate and complete defense and in the alternative, Arena

Offshore alleges and contends Plaintiff has wholly failed to show the alleged injuries

from which he now suffers, if any, are in any way related to his service on the Platform or

premises at issue or the alleged incident made the basis of this litigation so as to either

establish causation under the applicable law.

                                  EIGHTEENTH DEFENSE

       Pleading further for a separate and complete defense and in the alternative, Arena

Offshore alleges and contends the damages sought by Plaintiff concerning medical or

healthcare expenses, if any, must be limited to the amount actually paid or incurred by or

on behalf of Plaintiff, if any.

                                  NINETEENTH DEFENSE

       Pleading further for a separate and complete defense and in the alternative, Arena

Offshore alleges and contends it is entitled to set-off and credit available through the

application of the laws of the United States and/or the laws of the State of Louisiana,


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including but not limited to (i) payments or benefits received by Plaintiff, including but

not limited to Longshore and Harbor Workers'               Compensation,       State Workers'

Compensation and/or disability benefits, for the alleged injuries, if any, giving rise to

Plaintiff's claim; and/or (ii) any settlement received by Plaintiff for all or part of his

alleged claim, whether from any other person(s) or entity(ies).

                                TWENTIETH           DEFENSE

       Arena Offshore affirmatively avers that, at all times pertinent hereto, it acted

reasonably and prudently under the circumstances and complied with all applicable state

and federal laws and regulations.

                               TWENTY FIRST DEFENSE

       Arena Offshore respectfully pleads any and all other defenses and/or affirmative

defenses available to it under applicable law and reserves the right to supplement and/or

amend this answer to assert any additional affirmative defenses as may hereinafter be

appropriate.

                                      JURY DEMAND

       Arena Offshore requests a trial by jury on all issues in this matter.

                               CONCLUSION           & PRAYER

       For these reasons, Defendants Arena Offshore, LP and Arena Offshore Operating,

LLC pray that, after due proceedings occur, there be judgment herein in favor of

Defendants and against Plaintiff Terry Ausama, dismissing Plaintiff's First Amended

Complaint with prejudice at Plaintiff's costs, and that it be granted such other and further

relief, whether at law or in equity, to which it may show itself justly entitled.


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                                              Respectfully submitted,

                                              MUNSCH HARDT KOPF & HARR,         P .C.

                                              By: /s/ Kenneth W. Bullock, 11
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                                              ATTORNEYS FOR DEFENDANTS
                                              ARENA OFFSHORE, LP AND
                                              ARENA OFFSHORE OPERATING,          LLC



                             CERTIFICATE OF SERVICE

        I hereby certify that on March 29,2019, I presented the foregoing document to the
Clerk of the Court for filing and uploading to the CMlECF system, which will send
notification of such filing to all counsel of record, and hereby certify I have served a copy
ofthe foregoing to any known non-CMlECF participants identified below, if any.

                                               /s/ Kenneth W. Bullock, II
                                              Kenneth W. Bullock, II
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